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                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
Case No: 20-cv-06754-WHA
Case Name: Sonos, Inc. v. Google, LLC

                           TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                            PLAINTIFFS ATTORNEYS:                     DEFENSE ATTORNEYS:
 William Alsup                     Sean Sullivan, Alyssa Caridis, Dan        Sean Pak, Melissa Baily, Iman
                                   Smith, Rory Shea, Cole Richter,           Lordgooei, James Judah
                                   Clem Roberts
 TRIAL DATE:                       REPORTER(S):                              CLERK:
 05/12/2023                        Marla Knox                                Angella Meuleman

 PLF      DEF       DATE/TIME
 NO.      NO.       OFFERED   ID          REC DESCRIPTION                                        BY
                    7:24 a.m.                 Court in session. Briefs and housekeeping matters
                                              discussed outside presence of jury. Court directed
                                              parties to submit briefs on 5/14/2023, by 5PM, as
                                              stated on the record.
                    8:01 a.m.                 Jury present. Witness, Kevin Almeroth, Ph.D., on
                                              witness stand. Re-cross examination of witness
                                              continues by Sean Pak.
                    8:26 a.m.                 Court excused witness.
                                                  Plaintiff reads an interrogatory response to the jury as
                                                  stated on the record.
                    8:30 a.m.                     Deposition video of witness, Timothy Kowalski,
                                                  displayed for jury (11 minutes assessed to Sonos).
 TX8240                             X     X       Complaint for Declaratory Judgment (TX).
                                                  Witness, Alaina Kwasizur, approaches the witness
                                                  stand and sworn for testimony. Direct examination
                                                  of witness by Cole Richter.
 TX0307                             X             Webpage: IEEE.
 TX6721                             X     X       Confidential Patent Covenant Agreement between
                                                  DEI Sales, Inc. and Sonos, Inc.
 TX6632                             X     X       Confidential Patent License Agreement between
                                                  Lenbrook Industries Limited and Sonos, Inc.
 TX6631                             X     X       Confidential Patent License Agreement between Pass
                                                  & Seymour, Inc. and Sonos, Inc.
 TX6130                             X     X       Email from Alaina Kwasizur to Bradley Riel, et al re:
                                                  Sonos Notice. (Admitted as amended, as stated on the
                                                  record)
                    9:21 a.m.                     Jury excused for break. Housekeeping matters
                                                  discussed outside presence of jury.
                    9:30 a.m.                     Court in recess.
                    9:46 a.m.                     Court reconvened.      Exhibits discussed outside
                                                  presence of jury.
                    9:52 a.m.                     Jury present.     Direct examination of witness
                                                  continues by Cole Richter.
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TX6136                       X    X    Complaint for Patent Infringement in Sonos, Inc. v.
                                       Google LLC (WDTX), with redactions only.
                                       Admitted for notice only.
                10:08 a.m.             Cross-examination of witness by Melissa Baily.
                10:32 a.m.             Re-direct examination of witness by Cole Richter.
                10:37 a.m.             Re-cross examination of witness by Melissa Baily.

                10:41 a.m.             Witness, James Maleckowski, approaches the
                                       witness stand and sworn for testimony. Direct
                                       examination of witness by Alyssa Caridis.
                11:17 a.m.             Jury excused for break. Housekeeping matters
                                       discussed outside presence of jury.
                11:39 a.m.             Court in recess.
                11:43 a.m.             Jury present.    Direct examination of witness
                                       continues by Alyssa Caridis.
                12:16 p.m.             Cross-examination of witness by Melissa Baily.
                1:00 p.m.              Jury admonished and excused for the day and to
                                       report back on Tuesday morning, 5/16/2023, at 7:45
                                       a.m.
                1:02 p.m.              Court adjourned.




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